Case 2:04-cv-02415-SHi\/|-tmp Document 52 Filed 07/26/05 Page 1 0f3 Page|D 64

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lN THE UN|TED STATES DlSTRlCT COURT

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G. UMBERTO NiEDUR|, iVl.D., W;'?J C.=F '='-,it?vi?i'li$
Piaintiff,
v. Case No. 04-2415-Ma/P

THE UN|VERS|TV OF TENNESSEE
HEALTH SCIENCE CENTER,

HENRY G. HERROD, N|.D., individually
and in his official capacity; iViiCHAEL

E. DOCKTER, N|.D.r individually and

in his official capacity; and D|ANA
JOHNSON, Ph.D., individually and in
her official capacity,

Defendants.

 

ORDER EXTEND|NG DEFENDANTS’ T|ME TO ANSWER
OR RESPOND TO PLA|NT|FF’S AMENDED COMPLA|NT

 

Defendants have filed a iViotion for Extension of Tirne to Answer or Respond to
Piaintiff’s Amended Comp|aint. Piaintiff does not oppose the Motion. Therefore the Court
finds that the motion is wei|- taken . Defendants shall have until August 19, 2005 to

answer or respond to P|aintiff’s Amended Comp|aint.

M

Tu iVi. Pham
Magistrate Judge

lT lS SO ORDERED.

'Ci`\)l-\ QL,m
Date

T`l-is document entered or: the docket sheet in com ii nce
with Hu!e se and/or i`§(a) FHCP on _M

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CERT|F|CATE OF SERV|CE

This is to certify that a true and exact copy of the foregoing was transmitted by U.S.
mail to Dona|d A. Donati, 1545 Union Avenue, iV|emphis, Tennessee, 38104 and to Devon
L. Gosneii, 719 Andy Ho|t Tower, Knoxvil|e, Tennessee, 37996-0170.

This _ day of , 2005

 

Cierk of the Court

 

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This notice confirms a copy of the document docketed as number 52 in
case 2:04-CV-02415 Was distributed by faX, mail, cr direct printing on
.1 uly 27, 2005 to the parties listed.

 

Devcn L. Gcsnell

UNIVERSITY OF TENNESSEE
719 Andy Hclt TcWer

Kncxville7 TN 37996--017

Dcnald A. Dcnati

DONATI LAW FIRM, LLP
1545 Unicn Ave.

1\/1emphis7 TN 3 8104

William B. Ryan

DONATI LAW FIRM, LLP
1545 Unicn Ave.

1\/1emphis7 TN 3 8104

Rebecca P. Tuttle

UNIVERSITY OF TENNESSEE, 1\/[E1\/[PH[S
66 N. Pauline

Ste. 428

1\/1emphis7 TN 38105

chcrable Samuel Mays
US DlSTRlCT COURT

